Case 8:21-cv-00710-DOC-KES      Document 241     Filed 10/22/24    Page 1 of 14 Page ID
                                      #:7108



                            NOT FOR PUBLICATION                           FILED
                     UNITED STATES COURT OF APPEALS                       OCT 22 2024
                                                                       MOLLY C. DWYER, CLERK
                                                                        U.S. COURT OF APPEALS
                            FOR THE NINTH CIRCUIT

 WENDY CUNNING,                                  No.    23-55248

                 Plaintiff-Appellee,             D.C. No. 8:21-CV-00710-DOC-
                                                 KES
   v.

 SKYE BIOSCIENCE, INC.,                          MEMORANDUM*

                 Defendant-Appellant.



                    Appeal from the United States District Court
                       for the Central District of California
                     David O. Carter, District Judge, Presiding

                     Argued and Submitted September 12, 2024
                             San Francisco, California

 Before: BYBEE, BEA, and MENDOZA, Circuit Judges.
 Partial Concurrence and Partial Dissent by Judge BYBEE.

        Defendant-Appellant Skye Bioscience, Inc. (Skye) appeals the district court’s

 order that denied its renewed motion for judgment as a matter of law and its motion

 for a new trial on Plaintiff-Appellant Wendy Cunning’s claims for retaliatory

 termination under the Sarbanes Oxley Act, 18 U.S.C. § 1514A (SOX), and the



        *
              This disposition is not appropriate for publication and is not precedent
 except as provided by Ninth Circuit Rule 36-3.
Case 8:21-cv-00710-DOC-KES      Document 241      Filed 10/22/24   Page 2 of 14 Page ID
                                      #:7109



 California Whistleblower Protection Act, Cal. Labor Code § 1102.5(b) (WPA).

 Because the parties are familiar with the facts, we discuss them here only as

 necessary to explain our decision.

       We review de novo a district court’s denial of a motion for judgment as a

 matter of law under Federal Rule of Civil Procedure 50(b). Janes v. Wal-Mart Stores

 Inc., 279 F.3d 883, 886 (9th Cir. 2002). We review both a district court’s denial of

 a motion for a new trial under Federal Rule of Civil Procedure 59 and its evidentiary

 rulings for abuse of discretion. Doe ex rel. Rudy-Glanzer v. Glanzer, 232 F.3d 1258,

 1263 (9th Cir. 2000). But when a party fails to present an argument to the district

 court, the argument is forfeited, and we review it only for plain error. See C.B. v.

 City of Sonora, 769 F.3d 1005, 1016 (9th Cir. 2014) (en banc). We have jurisdiction

 under 28 U.S.C. § 1291. For the reasons set forth below, we vacate the judgment

 against Skye and remand for a new trial.

       As to the first category of evidence that Skye challenges, the district court did

 not abuse its discretion in admitting, via Cunning’s testimony and the Citron report,

 the so-called “unsubstantiated rumors” of misconduct by various Skye board

 members. Skye opened the door to this evidence when it asked Cunning whether

 she had brought her complaints about Dr. Murphy’s conduct to the board of

 directors. The parties’ pretrial reports and motion in limine briefing put Skye on

 notice that, if Cunning’s failure to complain to the board were an issue, Cunning



                                            2
Case 8:21-cv-00710-DOC-KES       Document 241       Filed 10/22/24   Page 3 of 14 Page ID
                                       #:7110



 would respond with an explanation of why she did not complain to the board. Skye

 knew that Cunning would testify as to the rumors she had heard about various board

 members’ misconduct. The rumors were not hearsay because they were not admitted

 for their truth—they were admitted only to show Cunning’s state of mind, which

 was relevant to explain why she had not complained to the board. Once Skye had

 adduced evidence that Cunning did not complain to the board of directors, Cunning

 was entitled to explain why she did not do so. Skye was under no obligation to place

 at issue Cunning’s failure to report her allegations to the board, and we decline to

 relieve Skye of the consequences of its tactical choice to do so.

       We do, however, conclude that the district court abused its discretion in

 admitting Dr. Dhillon’s guilty plea and SEC judgment.1 This evidence should have

 been excluded under Federal Rule of Evidence 403 because it had very little

 probative value, if any at all, and it was highly prejudicial. See United States v.

 Wiggan, 700 F.3d 1204, 1213 (9th Cir. 2012) (“Where the evidence is of very slight

 (if any) probative value, it’s an abuse of discretion to admit it if there’s even a modest



 1
   Cunning argues that, as to the remainder of Skye’s evidentiary arguments, we
 should review the district court’s admission of the evidence for plain error, rather
 than abuse of discretion, because Skye did not adequately preserve its objections
 below. We conclude otherwise. Skye presented the arguments it advances on
 appeal in its motion in limine briefing before the district court, and the district
 court “definitively” rejected them. We find that Skye adequately preserved the
 arguments and thus apply the abuse of discretion standard. Fed. R. Evid. 103(b);
 United States v. McElmurry, 776 F.3d 1061, 1066–67 (9th Cir. 2015).

                                             3
Case 8:21-cv-00710-DOC-KES      Document 241     Filed 10/22/24   Page 4 of 14 Page ID
                                      #:7111



 likelihood of unfair prejudice or a small risk of misleading the jury.”) (quoting

 United States v. Hitt, 981 F.2d 422, 424 (9th Cir. 1992)). The evidence was

 prejudicial because it allowed the jury to impute onto Skye Dr. Dhillon’s unrelated

 misconduct, related in his indictment, guilty plea, and conviction. Unlike the rumor

 evidence discussed above, this evidence was not relevant to show Cunning’s state of

 mind or a possible reason why she did not complain to the board. The plea and

 judgment were entered long after Cunning was terminated from Skye, and they

 therefore could not have affected her decision not to raise her complaints with the

 board. Cunning argues that the plea and judgment were nonetheless relevant

 because they showed that Cunning’s concerns were “legitimate.”              But the

 “legitimacy” of the rumors was not at issue—as discussed above, the rumors were

 not admitted for their truth, they were admitted solely for the purpose of explaining

 Cunning’s state of mind.      That later events may have vindicated Cunning’s

 suspicions was of no import. Skye’s decision to raise an issue about Cunning’s

 failure to complain to Dr. Dhillon, which opened the door to limited testimony from

 Cunning about why she didn’t complain to Dr. Dhillon, did not all the sudden render

 his every misdeed relevant to her case, and particularly not those misdeeds which

 had nothing to do with Skye but with another firm. In other words, Skye may have




                                          4
Case 8:21-cv-00710-DOC-KES       Document 241      Filed 10/22/24   Page 5 of 14 Page ID
                                       #:7112



 opened the door, but it did not open the floodgates. We therefore vacate the

 judgment on this basis and remand for a new trial.2

       We also conclude the district court erred in allowing Cunning to present

 evidence of her pre-termination emotional distress damages. As an initial matter,

 we review this issue for plain error because Skye forfeited its argument below. Plain

 error requires Skye to demonstrate (1) that there was an error, (2) that the error was

 plain or obvious, (3) that the error prejudiced Skye, and (4) that the correction of the

 error is necessary to prevent a miscarriage of justice. Hemmings v. Tidyman’s Inc.,

 285 F.3d 1174, 1193 (9th Cir. 2002). We conclude that the district court’s admission

 of evidence regarding emotional distress that Cunning suffered before she was

 terminated from Skye was a plain and obvious error. Cunning’s theory of liability

 against Skye focused solely on Skye’s decision to fire her. The special verdict form,

 for instance, asked the jury whether Cunning’s complaints “contributed to Skye’s

 decision to terminate [her] employment” and whether Cunning was “harmed (e.g.,


 2
   Skye also challenges Dr. Dhillon’s invocations of his Fifth Amendment privilege
 as irrelevant because the district court declined to give an adverse inference
 instruction, and Skye argues that the district court erred in not “mak[ing] an
 appropriate inquiry into the basis” for Dr. Dhillon’s repeated invocations of the
 privilege. See United States v. Vavages, 151 F.3d 1185, 1192 (9th Cir. 1998).
 Because we conclude that the admission of Dr. Dhillon’s guilty plea and SEC
 judgment was reversible error regardless the relevance of or basis for Dhillon’s
 invocations, we do not reach those issues here. On remand, the parties and the
 district court are free to revisit the admissibility of Dr. Dhillon’s invocations,
 including by assessing their foundation, in light of our holding that Dr. Dhillon’s
 guilty plea and SEC judgment are inadmissible on this record.

                                            5
Case 8:21-cv-00710-DOC-KES      Document 241      Filed 10/22/24   Page 6 of 14 Page ID
                                      #:7113



 suffered lost wages and/or emotional distress) by Skye’s termination of her

 employment.” Skye was likely prejudiced by the admission of additional testimony

 by Cunning regarding emotional distress she suffered before her termination, and

 that evidence was not relevant. And because we are in any event remanding for a

 new trial based on the district court’s separate evidentiary errors, we find that

 correcting this error as well is “necessary to prevent a miscarriage of justice.”

 Hemmings, 285 F.3d at 1193. On remand, the district court should allow Cunning

 to present only evidence of her emotional distress directly caused by her allegedly

 wrongful termination.

       Skye also challenges the district court’s ruling below that Cunning was

 entitled to equitable tolling of the statute of limitations on her WPA claim. We agree

 with Skye, to an extent, but remand for this issue to be tried. To begin with, Cunning

 is incorrect that Skye’s failure to raise this argument in a pre-verdict Rule 50(a)

 motion rendered the issue waived and unreviewable. Skye moved for summary

 judgment on the basis that Cunning had not submitted sufficient evidence to

 establish that she was entitled to equitable tolling. The district court denied Skye’s

 motion for summary judgment and concluded that Cunning was entitled to equitable

 tolling as a matter of law. The district court’s decision was therefore “purely legal,”

 and Skye did not forfeit the issue by failing to raise it in a pre-verdict Rule 50(a)




                                           6
Case 8:21-cv-00710-DOC-KES       Document 241      Filed 10/22/24   Page 7 of 14 Page ID
                                       #:7114



 motion. Dupree v. Younger, 598 U.S. 729, 738 (2023).3 And while the district court

 was correct to deny Skye’s motion for summary judgment, it erred in conclusively

 resolving the issue in Cunning’s favor. Cunning did not herself move for summary

 judgment on the question, and there was a genuine dispute of material fact as to

 whether Cunning acted reasonably and in good faith in waiting to file the instant

 lawsuit. The district court should instead have presented the issue to the jury, and

 we remand with instructions to do so at the new trial.

       Lastly, we reject Skye’s position that the district court erred in denying its

 request to bifurcate the trial between liability and damages. Skye concedes that the

 district court’s denial of the parties’ joint request to bifurcate liability and damages

 is entitled to a strong measure of deference. Graves v. Arpaio, 623 F.3d 1043, 1047

 (9th Cir. 2010) (“District courts have broad discretion when it comes to trial

 management.”) (affirming district court’s denial of bifurcation). Particularly given


 3
   To see why this is the case, “[c]onsider[] an alternate route that the district court
 could have taken” when it denied Skye’s statute of limitations defense on summary
 judgment. Younger v. Crowder, 79 F.4th 373, 378 (4th Cir. 2023) (emphasis
 added) (applying Dupree on remand). The district court could have simply
 “denied summary judgment [as to this defense] because factual disputes existed” as
 to whether Cunning acted reasonably and in good faith when she delayed filing of
 her WPA claim. See id. at 379. “Had the district court taken this route,” Skye and
 Cunning would have had to litigate at trial whether Cunning’s delay was
 reasonable and in good faith, see id., and only then would Skye be required to raise
 the statute of limitations issue again in a Rule 50(a) motion to preserve this defense
 on appeal, see Dupree, 598 U.S. at 735 (explaining Rule 50(a) motion is necessary
 to preserve a factual issue because “[f]act-dependent” questions on appeal, unlike
 purely legal questions, require a “complete trial record” to resolve).

                                            7
Case 8:21-cv-00710-DOC-KES       Document 241      Filed 10/22/24   Page 8 of 14 Page ID
                                       #:7115



 that Skye requested only bifurcation, and not that the district court impanel separate

 juries, we see no basis to disturb the district court’s original determination on this

 issue. The parties and the district court are free to reconsider it on remand consistent

 with the district court’s broad discretion on trial management.

    VACATED AND REMANDED. Each party shall bear their own costs.




                                            8
Case 8:21-cv-00710-DOC-KES      Document 241      Filed 10/22/24   Page 9 of 14 Page ID
                                      #:7116
                                                                           FILED
 Cunning v. Skye Bioscience, Inc., No. 23-55248                             OCT 22 2024
                                                                        MOLLY C. DWYER, CLERK
 BYBEE, J., concurring in part and dissenting in part:                    U.S. COURT OF APPEALS



        I agree with the majority that there was no error in admitting Avtar Dhillon’s

 testimony and the Citron report or the denial of Skye’s request to bifurcate the trial.

 I otherwise disagree with my colleagues, and I would affirm the judgment of the

 district court.

        1.     I find no error in the introduction of Avtar Dhillon’s guilty plea and

 Securities and Exchange Commission (SEC) judgment because the danger of unfair

 prejudice they posed did not substantially outweigh their probative value. See Fed.

 R. Evid. 403. Relevant evidence is generally admissible. Fed. R. Evid. 402.

 However, “[t]he court may exclude relevant evidence if its probative value is

 substantially outweighed by a danger of . . . unfair prejudice . . . .” Fed. R. Evid.

 403. “Unfair prejudice is an undue tendency to suggest decision on an improper

 basis, commonly, though not necessarily, an emotional one.” United States v.

 Haischer, 780 F.3d 1277, 1281 (9th Cir. 2015) (quoting United States v. Anderson,

 741 F.3d 938, 950 (9th Cir. 2013)). Courts should cautiously and sparingly exclude

 evidence under Rule 403 “because the Rule’s ‘major function is limited to excluding

 matter of scant or cumulative probative force, dragged in by the heels for the sake

 of its prejudicial effect.’” Id. at 1282 (quoting United States v. Hankey, 203 F.3d

 1160, 1172 (9th Cir. 2000)).
Case 8:21-cv-00710-DOC-KES       Document 241 Filed 10/22/24        Page 10 of 14 Page
                                     ID #:7117



        As the majority acknowledges, we review this issue for an abuse of discretion.

 A district court abuses its discretion when it makes an error of law or “bases its

 decision on unreasonable findings of fact.” Callahan v. Brookdale Senior Living

 Communities, Inc., 42 F.4th 1013, 1020 (9th Cir. 2022) (quoting Roes, 1–2 v. SFBSC

 Mgmt., LLC, 944 F.3d 1035, 1043 (9th Cir. 2019)). “[A]n appellate court may not

 simply substitute its judgment for that of the lower court and must accord the district

 court wide latitude on its decision.” United States v. McMullen, 98 F.3d 1155, 1159

 (9th Cir. 1996) (internal citation omitted) (citing Silber v. Mabon, 18 F.3d 1449, 1455

 (9th Cir. 1994)).

        Here, Dhillon’s guilty plea covered conduct that occurred while Skye

 Bioscience, Inc. (Skye) employed Wendy Cunning. Regardless of the date of

 Dhillon’s guilty plea, it was probative of Cunning’s state of mind when she chose

 not to report suspected wrongdoing to Dhillon. It also showed that Cunning’s

 concerns about Dhillon were not unfounded. For instance, without this evidence,

 jurors could have presumed that Dhillon was not engaged in securities fraud and,

 consequently, that it was unreasonable for Cunning not to complain to him about

 Murphy’s conduct. Additionally, as a witness, Cunning’s credibility was at issue and

 was for the jury to decide. Dhillon’s guilty plea and SEC judgment were relevant to

 her credibility.




                                           2
Case 8:21-cv-00710-DOC-KES       Document 241 Filed 10/22/24        Page 11 of 14 Page
                                     ID #:7118



       Meanwhile, the prejudice accompanying this evidence was not unfair, nor did

 it substantially outweigh the probative value, for two reasons. First, this case was

 against Skye, not Dhillon, and it related to underlying alleged misconduct by

 Murphy, not Dhillon. Second, the guilty plea was not entered into evidence to prove

 that Skye was more likely to engage in employment retaliation, which was the basis

 for this action. It was offered to demonstrate the validity of Cunning’s reservations

 about Dhillon. If the question for the jury was whether members of Skye’s board of

 directors ever engaged in securities fraud at Skye, this evidence would certainly have

 been highly and unfairly prejudicial. But that was not at issue. Any prejudice here

 flowed to Dhillon, a non-party, not Skye. Prejudice to Dhillon for a guilty plea

 related to securities fraud at another company is not grounds for excluding evidence

 in a trial about the liability of Skye for employment retaliation. The majority

 conflates prejudice against Dhillon with prejudice against Skye.

       In my view, the district court did not abuse its discretion by allowing

 introduction of the guilty plea and SEC judgment into evidence.

       2.     I respectfully disagree that the district court erred by ruling as a matter

 of law that Cunning was entitled to equitable tolling on her state whistleblower

 claim. In California, equitable tolling may extend a statute of limitations “while the

 plaintiff pursues an administrative remedy.” See Bjorndal v. Superior Court, 150

 Cal. Rptr. 3d 405, 412 (Cal. Ct. App. 2012) (citing Archdale v. Am. Int’l Specialty

                                           3
Case 8:21-cv-00710-DOC-KES        Document 241 Filed 10/22/24         Page 12 of 14 Page
                                      ID #:7119



 Lines Ins. Co., 64 Cal. Rptr. 3d 632, 655 (Cal. Ct. App. 2007)). The purpose of

 equitable tolling is “to prevent unjust and technical forfeitures of the right to a trial

 on the merits when the purpose of the statute of limitations—timely notice to the

 defendant of the plaintiff’s claims—has been satisfied.”          Id. at 409 (internal

 quotation marks and citation omitted). The determination of whether a statute of

 limitations should be equitably tolled is based on three factors: (1) timely notice;

 (2) lack of prejudice; and (3) the plaintiff’s reasonableness and good faith in bringing

 the action. See Addison v. State, 578 P.2d 941, 943–44 (Cal. 1978).

       Cunning filed a complaint with the Occupational Safety and Health

 Administration (OSHA) related to the conduct at issue in this case and then filed this

 lawsuit before an adjudication by OSHA. Because Skye was on notice of her

 allegations, the purpose of the California Whistleblower Protection Act’s (WPA)

 statute of limitations “ha[d] been satisfied.” Bjorndal, 150 Cal. Rptr. 3d at 409.

 Likewise, Skye was not prejudiced by her failure to bring the suit within the

 limitations period because it was already potentially subject to liability. The only

 question, then, was whether Cunning acted in good faith.

       Good faith “encompass[es] two distinct requirements: A plaintiff’s conduct

 must be objectively reasonable and subjectively in good faith.” Saint Francis Mem’l

 Hosp. v. State Dep’t of Pub. Health, 467 P.3d 1033, 1043 (Cal. 2020). Objective

 reasonableness asks “whether th[e] party’s actions were fair, proper, and sensible in

                                            4
Case 8:21-cv-00710-DOC-KES        Document 241 Filed 10/22/24        Page 13 of 14 Page
                                      ID #:7120



 light of the circumstances.” Id. at 1044. Meanwhile, subjective good faith measures

 “whether a party’s late filing . . . was the result of an honest mistake or was instead

 motivated by a dishonest purpose.” Id.

       Here, the facts surrounding Cunning’s late filing were not in genuine dispute,

 and it was reasonable for the district court to conclude that the statute of limitations

 should be equitably tolled. Relying on OSHA’s process was not subjectively

 unreasonable and, indeed, was likely “fair, proper, and sensible in light of the

 circumstances.” Id. at 1044. By the same token, there is no evidence that Cunning

 acted dishonestly in neglecting to file this claim within the time provided by the

 statute of limitations. Id. at 1045. Because there are no facts for the jury to decide

 that would inform the equitable tolling analysis under California law, there was no

 error in the district court’s legal conclusion.

       3.     The district court did not commit plain error by allowing evidence of

 pre-termination emotional damages. As the majority acknowledges, the special

 verdict form explicitly asked whether “Ms. Cunning [was] harmed (e.g. suffered lost

 wages and/or emotional distress) by Skye’s termination of her employment?” That

 question followed a jury instruction that specifically listed as an element of

 Cunning’s Sarbanes-Oxley claim that she “was harmed by the termination of her

 employment.”




                                             5
Case 8:21-cv-00710-DOC-KES       Document 241 Filed 10/22/24        Page 14 of 14 Page
                                     ID #:7121



       Regardless of Cunning’s testimony about harms she suffered prior to her

 termination, there is no way to know whether the jury credited that testimony and

 awarded her pre-termination damages. And there is good reason to doubt they would

 in light of the jury instruction and verdict form. To speculate otherwise is to assume

 that the jurors ignored or disregarded their instructions and the special verdict form.

 I decline to make that assumption. Skye has not demonstrated that it was prejudiced

 by Cunning’s testimony about pre-termination damages.

                                         * * *

       For these reasons, I would affirm the judgment of the district court in its

 entirety. To the extent the majority does not do so, I respectfully dissent.




                                           6
